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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 02, 2022.

                                                          ________________________________________
                                                                     MICHAEL M. PARKER
                                                             UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

    IN RE:                                         §
                                                   §
    KUBERLAXMI LLC,                                §          CASE NO. 22-51323-MMP
                                                   §
                                                   §                CHAPTER 11
            DEBTOR.                                §

          ORDER GRANTING MOTION FOR EMERGENCY HEARING
          REGARDING (MOTION TO USE CASH COLLATERAL (RE: DOCKET
          NOS. 7 AND 8)

           On this day came on for consideration Motion for Emergency Hearing regarding Motion
   to Use Cash Collateral (the “Motion”) regarding the Motion to Use Cash Collateral (Docket No.
   7) (the “Motion to Use Cash Collateral”) filed herein on December 2, 2022 by Kuberlaxmi LLC,
   the debtor and debtor in possession. The Court finds and concludes that the Motion for Emergency
   hearing should be granted.
           IT IS THEREFORE ORDERED THAT the Court shall conduct an Emergency
   hearing on the Motion to Use Cash Collateral on December 7, 2022 @9:30am in Courtroom
   #1, 3rd Floor, 615 E. Houston Street, San Antonio, Texas. The Debtor is responsible for
   notice.


                                      ### END OF ORDER ###




   ORDER GRANTING MOTION FOR EMERGENCY HEARING REGARDING (MOTION TO USE CASH
   COLLATERAL (RE: DOCKET NOS. 7 AND 8)— Page 1
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